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                       IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF NEW YORK



                                                                   Consolidated Multidistrict Action
IN RE: TRIBUNE COMPANY FRAUDULENT                                  11 MD 2296 (RJS)
CONVEYANCE LITIGATION                                              12 MC 2296 (RJS)

                                                                   ECF Case




THIS DOCUMENT RELATES TO:

All Actions




                           NOTICE OF SUBMISSION OF LETTER


       Pursuant to paragraph 47 of Master Case Order No. 3 (Sept. 7, 2012) [ECF No. 1395],

please take notice that the undersigned submitted the attached letter to the Court in the above-

captioned actions on behalf of the parties listed therein.



Dated: July 9, 2018                            By:      /s/ David M. Zensky       /
       New York, NY
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July 9, 2018

VIA ECF AND EMAIL (sullivannysdchambers@nysd.uscourts.gov)

Honorable Richard J. Sullivan
United States District Court
Southern District of New York
Thurgood Marshall United States Courthouse
40 Foley Square, Room 2104
New York, NY 10007

       RE: In re: Tribune Co. Fraudulent Conveyance Litig., Case No. 11-md-2296 (RJS)
Joint Letter

Dear Judge Sullivan:

        In response to your June 18, 2018 Order [ECF No. 7552] (the “Order”), Plaintiff Marc
Kirschner (“Plaintiff” or the “Trustee”), in his capacity as the Litigation Trustee of the Litigation
Trust (the “Trust”) of Tribune Company (together with its affiliated entities, “Tribune” or
“Company”), the Note Holder Plaintiffs, the Retirees (together with the Note Holder Plaintiffs,
the “Individual Creditor Action Plaintiffs,” 1) and the defendants 2 in this MDL proceeding submit
this joint letter to (i) indicate how they wish to proceed with respect to a potential global
resolution of the above-captioned litigation, and (ii) update the Court regarding the current state
of discovery. 3




        1
           See Master Case Order #3 [ECF No. 1395] at 2.
        2
           Defendants submitting this letter are: Dudley S. Taft, Enrique Hernandez, Jr., Betsy D. Holden, Robert S.
Morrison, William A. Osborn, J. Christopher Reyes, and Miles D. White (together, the “Independent Directors”);
The Exhibit A Shareholder Defendants’ Executive Committee, and the Individual Creditor Action Defendants’
Executive Committee (together, the “Shareholder Executive Committees”); Samuel Zell, Equity Group Investments,
LLC, EGI-TRB, LLC, and Sam Investment Trust (together, “Zell and Affiliated Entities”); The Robert R.
McCormick Foundation and The Cantigny Foundation (together the “Foundations”); Chandler Trust No. 1 and
Chandler Trust No. 2 (together, the “Chandler Trusts”); Duff & Phelps, LLC, GreatBanc Trust Company, Valuation
Research Corporation, Citigroup Global Markets Inc., Merrill Lynch, Pierce, Fenner & Smith Incorporated, and
Morgan Stanley & Co. LLC (“Morgan Stanley”) (collectively, the “Advisor Defendants”); and Harry Amsden,
Chandler Bigelow, Stephen Carver; Thomas Finke, Dennis FitzSimons, Robert Gremillion, Donald Grenesko, Mark
Hianik, David Hiller, Dan Kazan, Crane Kenney, Timothy Knight, Tim Landon, Richard Malone, Irving Quimby,
John Reardon, Scott Smith, John Vitanovec, Kathleen Waltz, David Williams, and John Worthington (the “Non-
Moving Defendants,” and together with the Trustee, Advisor Defendants, Foundations, Independent Directors,
Shareholder Executive Committees, Chandler Trusts, and Zell and Affiliated Entities, the “Parties”).
         3
           Although the Order did not list all of the plaintiffs, defendants and defendant groups, by agreement they
were invited to participate in the Parties’ discussions and to contribute to this joint letter. Counsel for the
Defendants’ Executive Committee in the Individual Creditor Actions also participated by agreement, as did counsel
for the Note Holder Plaintiffs and Retirees. The Parties agree that a global resolution of claims against the
Shareholder Defendants and other defendants that received LBO proceeds will require the participation of the
Individual Creditor Action Plaintiffs.


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        On June 27, counsel for the Parties conducted a call to discuss the status of discovery and
exchange initial views on the contents of this joint letter. The Parties thereafter exchanged drafts
of their respective sections of this letter.

    I.       PARTIES’ POSITIONS ON POTENTIAL GLOBAL RESOLUTION

             A. The Trustee’s Position on Potential Settlement

       The Trust represents the interests of creditors holding billions of dollars of allowed
claims against Tribune that were not satisfied in the bankruptcy. It is now ten years since
Tribune defaulted on these debts, and more than five years since the company exited bankruptcy,
and clearly time to accelerate the pace of these proceedings.

        As of today, Plaintiff considers responses to be substantially complete for the vast
majority of merits requests and subpoenas issued, and expects the remaining productions
(principally from the Non-Moving Defendants) to be complete within the next one to three
months. 4 The Trustee does not presently contemplate needing to serve further document requests
or subpoenas unless answers or summary judgment motions are filed or deposition testimony is
given that raises new or different fact issues. 5 On the defense side, other than one request
served on the Trustee, the Non-Moving Defendants have not served any document requests and
the Trustee is unaware of any document discovery the Moving Defendants intend to seek. Thus,
document discovery in these cases is now very far along.

        The productions made in the past year have given the Trustee access to tens of thousands
of never-before-produced documents, many of which were previously withheld from production
as privileged, such as communications with the Tribune Special Committee (see Order on
Motion to Compel, dated February 25, 2018 [ECF No. 7245]), or from custodians and time
periods not subject to production during the bankruptcy. 6 A prime example is the radically lower
financial forecasts rendered by Tribune and many of the defendants just weeks and months after
the LBO was completed. In the view of the Trustee, the Post-Bankruptcy Discovery strongly
supports the allegations made in the operative complaints, and, as further detailed below, will be
instrumental in the next phase of the litigation and in driving future settlement negotiations.

       The Trustee has carefully considered the Court’s suggestion respecting settlement
discussions, as well as the views of defendants. The Trustee believes a staggered approach is

         4
            The Trustee has not yet received privilege logs (first time or updated) from many of the parties it served
with document requests and subpoenas, and reserves all rights respecting documents withheld by any party or third-
party on privilege or immunity grounds. Additionally, no parties or third-parties have been deposed about their
document retention processes or the manner in which documents were collected in response to the Trustee’s
requests; the Trustee reserves all rights in that regard as well.
         5
           The one exception is document discovery from shareholders who seek to raise individualized defenses, to
the extent the Trustee is permitted to amend to assert a constructive fraudulent conveyance claim and/or successfully
appeals the dismissal of his intentional fraudulent conveyance claim.
         6
           The Trustee also received the turnover of privileged documents from reorganized Tribune itself during
2013. These documents, together with productions received and to be received pursuant to the Preliminary
Discovery Plan, collectively, are referred to herein as the “Post-Bankruptcy Discovery.”


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warranted, with targeted mediation with many of the Shareholder Defendants proceeding in the
near term (i.e., starting sometime in the next few months), and a separate mediation with the
remaining defendants 6 months from now, after certain depositions can be taken. This staggered
approach assumes a narrower scope of mediation than the Shareholder Defendants are proposing
below; mediation of all Shareholder claims and defenses would require the completion of these
depositions. While defendants universally oppose conducting depositions prior to any
mediation, their assertion that mediation could be successful absent further discovery is belied by
their failure to request mediation or come to the settlement table at any time during the last four
years. 7 The Trustee is rightly concerned that the defendants’ support of mediation in lieu of
discovery is a delay tactic.

       Any mediation should be before a private mediator selected by the Parties, not the Court,
experienced in complex commercial and bankruptcy claims. Any mediation should be governed
by terms and conditions agreed to by the Parties. A court order directing mediation at this
juncture is both unnecessary and premature. The Trustee has steadfastly pursued settlement with
the Shareholder Defendants, and requires no court order to continue to do so.

                 As to the Shareholder Defendants:

        Plaintiff has endeavored to settle the Count One fraudulent transfer claim almost
continuously since his substitution in 2012, having joined with the Individual Creditor Plaintiffs
in making a series of five settlement offers that were communicated to and open to virtually all
of the Shareholder Defendants named in the Trust Action and/or the Individual Creditor Actions. 8
To date, those offers have resulted in over 600 defendants settling and being dismissed with
prejudice from the action. 9

        The remaining Shareholder Defendants apparently are disinterested in settling absent
mediation or until further legal developments occur in this proceeding and/or in the Second
Circuit, where the panel recently recalled the mandate “in anticipation of further panel review.”
Order, In re: Tribune Co. Fraudulent Conveyance Litig., No. 13-3992(L) (2d Cir. May 15, 2018)
[ECF Nos. 7432-33]. Following highly preliminary discussions with the Shareholder Executive
Committees the Trustee is conceptually willing to engage in mediation of certain alleged
individualized defenses to the Trustee’s fraudulent transfer claims (including any potential
amended claims) provided, inter alia, a sufficient number of Shareholder Defendants (measured
by aggregate transfer amount, number, and/or percentage) claiming each such defense are
interested in pursuing settlements. 10 This mediation would not cover alleged defenses applicable

        7
           The sole exceptions are Advisor Defendants Citigroup Global Markets Inc., Merrill Lynch, Pierce, Fenner
& Smith Incorporated, and Morgan Stanley, which entered into private, bilateral negotiations with the Trustee in
2016, resulting in a partial settlement of claims against Morgan Stanley.
         8
           See Master Case Order #3 [ECF No. 1395] at 2.
         9
           All settlements have included both the previously pled intentional fraudulent conveyance claim and the
constructive fraudulent conveyance claim the Trustee seeks to add by way of amendment. In addition, virtually all
settlements have involved the Individual Creditor Action Plaintiffs, who have agreed to release any and all
constructive fraud claims asserted against the settling defendants.
         10
            By limiting the defenses to be mediated, the Trustee is not in any way suggesting that any settlements
reached with the Shareholder Defendants would not encompass all claims related to their Shareholder Payments.


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to all Shareholder Defendants unless scheduled following depositions, and would not include any
of the Trustee’s other claims. The Trustee has confirmed that the Noteholder Plaintiffs and
Retirees (who also sued many of the same Shareholder Defendants) would participate in such a
mediation, if and when appropriate parameters are agreed to.

        Subject to achieving sufficient participation, the Trustee believes that targeted mediation
with the Shareholder Defendants could go forward in the short term, without the need for further
discovery before commencing the mediation, in contrast to the Trustee’s views with respect to
the remaining defendants (described below). If the Shareholders Executive Committees insist on
mediating all issues of general applicability to the fraudulent conveyance claims, the Trustee is
willing to do so following the completion of the twelve depositions detailed herein. 11 However,
whenever such mediation should occur, and irrespective of its scope, it must not prejudice or
delay the Trustee’s rights to conduct depositions later this year, as discussed below, or the
Trustee’s ability to proceed with his motion to amend as soon as developments at the Second
Circuit occur, as contemplated by the Order.

        The Trustee and Individual Creditor Action Plaintiffs will continue discussions with the
Shareholder Executive Committees regarding, inter alia, the identification of appropriate topics
for mediation, appropriate procedures, expected participants, and mediator candidates. Indeed,
as of now these parties have materially different views as to the appropriate scope of a mediation
and multiple further discussions are necessary. Accordingly, at this juncture any order from the
Court respecting mediation would be premature, and the Court should decline the Shareholder
Executive Committees’ invitation (set forth later in this letter) to intervene in the parties’
negotiations. The Trustee only learned of the Shareholder Defendants’ desire to engage in
mediation on June 27, and has had but one additional meet and confer call since then. While the
Trustee intends to negotiate in good faith the myriad logistics of mediation timing, cost-sharing,
mediator selection, and the threshold for mediating individualized defenses, the Trustee has not
yet heard any mechanism for bringing all or even substantially all shareholders to the table,
including the many that failed to appear. The Trustee submits that the best course of action is to
continue negotiations with the Shareholder Executive Committees and report back to the Court if
and when the parameters of a mediation either are or are not agreed to. The Trustee is confident
the Parties can negotiate an acceptable mediation process and will mutually agree to an
acceptable mediator.

                  As to all other Defendants:

       In 2014, Plaintiff participated in mediation with counsel for certain of the Non-Moving
Defendants, Independent Directors, tag-along defendants, and Samuel Zell, and had settlement
discussions with certain of the Advisor Defendants. Insurance carriers covering certain of the
defendants also participated. Those mediations and discussions ended without any settlements,
and there have been no formal or informal negotiations with any of these parties in the
         11
            The Shareholders Executive Committees have raised at least one specific global defense in this letter.
While the Trustee does not believe this is the right forum to debate the merits of any particular claims or defenses,
suffice to say the Trustee and Individual Creditor Action Plaintiffs are well aware of the Executive Committees’
arguments in this regard and have factored them into prior global settlement offers made to the Shareholder
Defendants.


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intervening four years. The absence of settlements or settlement discussions is not surprising
given the absence of any developments directly affecting these claims.

       The Trustee is willing to resume mediation with all of these defendants at the appropriate
time, but believes it will be no more successful than the last mediation and result in a large and
unnecessary drain on the Trustee’s resources until (1) the Court has rendered rulings on the
pending motions to dismiss, which have been fully briefed for some time, and (2) the Parties are
permitted to proceed with some of the key, initial depositions. In Plaintiff’s view, a ruling on the
pending motions to dismiss will provide incentives to settle that do not presently exist.

        Additionally, Plaintiff believes that allowing the Trustee to conduct an initial twelve
depositions prior to any mediation or formal settlement conference with the Director and Officer,
tag-along, Advisor, and Zell Defendants will provide these Parties and the Trustee with an
important factual basis for settlement discussions. Plaintiff has communicated a preliminary list
of these deponents 12 to the Parties, and believes that the depositions of these individuals, who
were key directors, officers, and advisors of Tribune at the time of the relevant events, will serve
to explore the new discovery obtained by the Trustee, including the privileged documents and
post-LBO material, and allow both Plaintiff and defendants to test certain of their core
allegations and theories.

         Following the completion of these initial depositions (and potentially rulings from the
Court as well), the Trustee intends to mediate the remaining claims against the Director and
Officer, tag-along, Advisor, and Zell Defendants. With respect to all claims, the Trustee believes
a professional mediator selected by the Parties, with experience in complex commercial disputes,
and who has the time available to address the very complex claims and defenses in this litigation,
would be preferable to a special master or magistrate, a position that all defendants save Zell and
his affiliated entities appear to share. The Trustee disagrees that there is any role to play for a
Magistrate Judge or Special Master in sequencing motions or discovery, tasks the Parties have
regularly dealt with in meet and confers and this Court has handled to date and should continue
to handle.

       To recap, the Trustee (joined by the Individual Creditor Action Plaintiffs) proposes (i) a
mediation with the shareholders first, to begin as soon as terms are negotiated consensually,
followed by (ii) a separate mediation with the Director and Officer, tag-along, Advisor, and Zell
Defendants, to be held following the completion of the currently contemplated document
discovery and the twelve depositions of key witnesses. All mediations would be governed by
terms negotiated by the Parties, rather than set by the Court. The timeline for this would be as
follows:

                 July-September, 2018: Completion of outstanding productions, negotiation of
                 Trustee-Shareholder Defendant mediation terms, and if successful, beginning of
                 Trustee-Shareholder mediation with a professional mediator.

        12
            These expected initial deponents are: Chandler Bigelow, Dennis FitzSimons, Heidi Fischer, Rachel
Sauter, William Osborn, David Hiller, Crane Kenney, Harry Amsden, Gina Mazzaferri, Todd Kaplan, Roseanne
Kurmaniak, and Thomas Whayne.


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               July-November, 2018: All Parties to receive and review Post-Bankruptcy
               Discovery, as each sees fit.

               November, 2018-January, 2019: Deposition of no more than 12 witnesses
               identified by Trustee. Trustee to negotiate with Director and Officer Defendants,
               Advisor Defendants terms of mediation and select mediator

               January 2019: Trustee, Director and Officer Defendants, and Advisor Defendants
               begin mediation with a professional mediator. Further discovery stayed pending
               outcome of mediation.



           B. Retirees’ Position on Potential Settlement

        There are approximately 164 individual retirees of Tribune (the “Retirees”) who are
plaintiffs in the four State Law Constructive Fraudulent Conveyance Litigations (the “Retiree
SLCFC Actions”) which are the subject of the Second Circuit’s recent order recalling the
mandate in In re: Tribune Co. Fraudulent Conveyance Litig., No. 13-3992(L) (2d Cir. May 15,
2018) [ECF Nos. 7432-33]. The principal amount of the claims asserted by the Retirees in the
Retiree SLCFC Actions is approximately $63 million. Of the 164 Retirees, approximately 84 are
beneficiaries of the Trust and hold claims in the principal amount of approximately $36 million
(the “LT Retirees”). Among the overlapping retirees is William A. Niese. Mr. Niese is the lead
plaintiff in each of the Retiree SLCFC Actions and is a member of the Advisory Board of the
Trust. Teitelbaum Law Group, LLC represents Mr. Niese in his capacity as a member of the
Advisory Board to the Trust and the Retirees in the Retiree SLCFC Actions. This section is
submitted on behalf of the Retirees in their capacity as plaintiffs in the Retiree SLCFC Actions.

        There has been and continues to be cooperation among the Retirees, the Note Holder
Plaintiffs who are party to their own State Law Constructive Fraudulent Conveyance Litigations
and the Trust in connection with efforts to resolve the myriad of complex issues before this Court
and the Second Circuit. The Retirees have supported the settlements brokered by the Trust and
have agreed to dismiss claims asserted by them in the Retiree SLCFC Actions against settling
defendants. The Retirees believe that their continued participation in this process is necessary if
there is any prospect of a global settlement as suggested by this Court. Thus, the Retirees
appreciate this Court’s recognition of the fact that it may be time for parties to seriously embrace
a comprehensive settlement of this complex multi-district litigation.

         The Retirees share the concerns of the Trust regarding the complexity of such a process
and the need to incentivize parties to participate in a meaningful way. The Retirees have lived
with these cases and the loss of their personal retirement savings since the Tribune bankruptcy
filing in 2008. As a result of the bankruptcy case the Retirees recovered approximately 33% of
the $95 million of their hard earned money entrusted to Tribune as part of a deferred
compensation retirement program. The Retirees have had to come to grips with the fact that the
LBO devastated their “golden years” and that the Retiree SLCFC Actions and the Trust Actions
are their last chance to recover their lives—while they are still living.

       The Retirees, consistent with the Trust’s position, support mediation and request that this
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Court use its good offices to encourage all parties to promptly explore a global settlement.



             C. Shareholder Executive Committees’ and Large Shareholders’ Position

The Shareholder Executive Committees Support Mediation of Shareholder Claims

        The Shareholder Executive Committees support a formal mediation process to attempt to
consensually resolve any claims against shareholder defendants that might be reinstated or
added. While all previously pled claims against shareholders are currently dismissed, 13 both the
intentional and constructive fraudulent transfer claims remain subject to future appellate
proceedings, and the plaintiff continues to seek to amend the FitzSimons complaint to add new
federal constructive fraudulent transfer claims against the shareholder defendants.

        As a result of the dismissal of all claims against the shareholder defendants based on
globally applicable defenses, there has been no process to date to address other defenses
applicable to all or individual or sub-groups of shareholder defendants beyond the “Conduit
Protocol,” 14 which was suspended upon dismissal of the FitzSimons complaint against the
shareholder defendants. For example, while the recent decision in Merit Management Group, LP
v. FTI Consulting, Inc. may foreclose one theory that would protect all shareholder defendants,
other global defenses remain, including those that, in the circumstances of Tribune, entitle every
tendering shareholder to the safe harbor, and another based on older but equally valid Supreme
Court precedent, as the defendants have outlined in their recent submission in the Second Circuit.
Additional safe harbor arguments are available to particular defendants who may qualify as
“financial institutions” or “financial participants” on grounds distinct from the global defenses. 15
Other individual or sub-group defenses include statutes of limitations, principles of sovereign
immunity, service and jurisdictional issues, interplay with the various state laws governing
testamentary estates and corporate dissolution, interplay with the Investment Company Act of
1940, ERISA or other federal law, as well as other categories, many of which are set forth in
Schedule A of our letter to the Court in connection with Master Case Order No. 4, dated
February 13, 2014. [ECF No. 4335-1].

        The plaintiffs purport to be willing to mediate individualized defenses, but oppose
mediation of global defenses applicable to all shareholder defendants. Plaintiffs’ refusal to
mediate global defenses together with individualized defenses would doom mediation to failure
before it even started. To have any prospect of success, mediation of shareholder claims must
include all potentially applicable defenses, both global and individual. Indeed, the concept of
mediating some defenses, but not others that a defendant has makes no sense, just as it would

        13
            The only exception is certain state-law claims in FitzSimons against the Foundations and the Chandler
Trusts, which are subject to pending motions to dismiss. The foregoing shareholder defendants are referred to as the
“Large Shareholders” in this Court’s Master Case Order No. 3. The Large Shareholders support the position set
forth herein by the Shareholder Executive Committees, of which the Large Shareholders are members.
         14
            See Conduit Protocol entered April 24, 2014 [ECF No. 5695].
         15
            See, e.g., Citigroup Entities Letter to the Court submitted Mar. 13, 2018 [ECF No. 7291].


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make no sense to mediate some, but not all, claims against that defendant. No defendant is going
to entertain a settlement that does not take account of all defenses it has, just as no plaintiff is
going to entertain a settlement that does not take account of all of its claims against that
defendant.

        The plaintiffs suggest that a mediation including global defenses would be fruitless
because shareholders with any interest in settlement accounting for those defenses have already
settled. That suggestion is misleading. A mediation process would foster dialogue and, with the
assistance of a skilled mediator, test each side’s view of the claims and defenses at issue. By
contrast, the plaintiffs in this multi-district litigation have thus far issued only take-it-or-leave-it
settlement offers usually limited to defendants with smaller amounts of exposure. For
shareholder defendants that received more than $10 million in LBO proceeds, only two offers
were made in 2012 and 2018, each open for approximately six weeks and non-negotiable. 16

         Even these limited offers did not account for individual or sub-group defenses, and, with
respect to global defenses, plaintiffs have largely not engaged with the shareholder defendants
with the largest exposure. Indeed, plaintiffs’ most recent unilateral offer, made after the decision
in Merit Management, was proposed before defendants had explained—and did not purport to
address—the defendants’ remaining global defenses under Bankruptcy Code Section 546(e)
based on the facts that Tribune still qualifies as a “financial participant,” and that Tribune and the
transferees in the LBO were “customers” of a “trust company” and therefore qualify as “financial
institutions.” While plaintiffs note that 600 named shareholder defendants have accepted the
plaintiffs’ global settlement offers, that represents barely 10% by number of the more than 5,000
originally named shareholder defendants, and consists principally (if not exclusively) of
shareholders that received relatively small amounts in settlement of their share redemptions.
Defendants who received the overwhelming majority (by both amount and number) of the LBO
shareholder transfers have not agreed to accept plaintiffs’ unilaterally determined settlement
amounts. The Shareholder Executive Committees respectfully submit that a mediation process
that addresses both global and individual or sub-group defenses would be much more productive
than the take-it-or-leave-it offers that plaintiffs have made to date.

         The Shareholder Executive Committees believe that a mediation process that addresses
both the global and individual and sub-group defenses of shareholders would advance the
resolution of remaining or potential claims against many, if not all, shareholder defendants.
Accordingly, the Shareholder Executive Committees respectfully request that the Court order
that (i) the plaintiffs and shareholder defendants participate in a mediation of both global and
individual defenses, (ii) the plaintiffs and Shareholder Executive Committees meet and confer
regarding the selection of a mediator and, in the absence of consensus, submit letter briefing to
the Court regarding the parties’ respective positions on the selection of a mediator, 17 and

         16
            During the periods when other offers limited to smaller shareholders were open, the plaintiffs rejected at
least some requests from shareholder defendants to settle on the proposed terms because those defendants’ exposure
exceeded the plaintiffs’ established thresholds, and in some cases, by just small amounts.
         17
            The members of the Shareholder Executive Committees respectfully request that the Court provide the
parties additional time to meet and confer regarding the selection of a mediator. Given the number of parties
involved, the nature of the claims, and the complexity of the case, the selection of a mediator will be of critical
importance to the ultimate success of the mediation. The parties should be afforded the opportunity to meet and


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(iii) following the selection of a mediator, the mediator, in consultation with the plaintiffs and
Shareholder Executive Committees, establish mediation procedures to be submitted to the Court
for entry of an order approving such procedures for mediation of the claims against the
shareholders, including global and individual and sub-group defenses. Further, while the goal of
the mediation would of course be to consensually resolve claims against the shareholders, the
mediation process could prove helpful even if that goal were not achieved. For example, it could
also be utilized to develop a voluntary process by which individual or sub-group defenses could
be efficiently adjudicated, including processes similar to the Conduit Protocol, potentially
conducted through the use of a magistrate or special master.

             D. Non-Moving Defendants’ Position

        Non-Moving Defendants state (and echo the other Parties’ sentiments herein) that if a
global resolution through mediation is the objective, then pre-mediation rulings on the pending
motions to dismiss would make that outcome more likely. For the reasons discussed infra
Section II.C., Non-Moving Defendants also agree with all defendants that the Court should reject
the Trustee’s suggestion to hold depositions before an initial mediation. Instead, any party left in
the case after this Court rules on the motions to dismiss, and after mediation, can proceed to
depositions at that time. This will result in depositions that are more focused, efficient and fair to
everyone left in the case. If the Trustee’s suggestion that depositions will aid mediation holds
true, those parties can hold a second mediation to wrap things up.

       With respect to timing, Non-Moving Defendants stand ready to participate in the
development of a mediation plan, and ultimately mediate, whenever asked to do so.

        Finally, to clarify a potential misunderstanding, we note that the prior settlement offers
the Trustee describes do not apply to Non-Moving Defendants because those offers were
extended only to defendants named solely in Count 1. In addition, current and former Tribune
employees who are Shareholder Defendants named only in Count 1, and who also are defendants
in Adversary Proceedings transferred to this Court seeking to recoup compensation paid to them
by Tribune pre-Bankruptcy, have never been offered complete relief by the Trustee. This is
because the Trustee’s offers have not included a release of corresponding Adversary Proceedings
against any employee Shareholder Defendant.

             E. Sam Zell and Affiliated Entities’ Position

       Mr. Zell and affiliated defendants, Equity Group Investments, LLC, EGI-TRB, LLC and
Sam Investment Trust (“Affiliated Entities”), were investors (or affiliates of investors) who lost
money in the Tribune transaction. Consistent with the findings of the Examiner, the Tribune
Bankruptcy Court required a special disclosure to creditors in conjunction with the Tribune
bankruptcy Plan of Reorganization notifying creditors that any claims against Mr. Zell were
unlikely to succeed.



confer to attempt to reach a consensus, or at least narrow the field of potential mediators, before the Court orders the
appointment of any particular mediator.


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        Mr. Zell and Affiliated Entities have long believed that a resolution of this dispute is in
the best interest of all concerned. To that end, they would engage in any mediation process at
any time and believe there would be merit in commencing that process without further delay.
Mr. Zell and Affiliated Entities submit the following additional comments as to why they believe
a) the Court should appoint a special master or magistrate as opposed to a private mediator, b) at
least initially the mediation should be a global mediation involving all interested parties; and c)
motions to dismiss should be decided before deposition discovery is permitted.

         Appointment of a special master or magistrate is preferable to appointment of a private
mediator: Mr. Zell and Affiliated Entities agree with the Court appointing either a special master
or a magistrate who, in addition to mediating the dispute, would have authority (in the event a
global resolution is not achieved at first) to make recommendations to the Court about how best
to sequence motion practice, discovery and/or further litigation so as to promote a global
resolution. Consistent with this Court’s reference in its June 19, 2018 Order to the possible
appointment of a magistrate or special master, Mr. Zell and Affiliated Entities believe
appointment of a special master or mediator would be preferable to appointment of a private
mediator because the former could formulate recommendations for how best to narrow and
resolve remaining issues and could report to the Court on the progress of the mediation process.
Additionally, given the multiplicity of parties and diversity of interests, it may be challenging for
all interested parties to agree on a particular private mediator; yet, there would be obvious value
in having the same individual mediate all disputes related to this case.

        At least initially, the mediation should be a global mediation involving all interested
parties: Because there should be value to all involved in achieving a global resolution, a
mediation should involve all interested parties (at least initially), including dismissed parties like
the Shareholder Defendants. Inclusion of all interested parties will ensure the mediator is fully
informed and in a position to make recommendations to the Court with respect to additional
steps (including, for example, targeted discovery or prioritization of certain motion practice) that
might promote global resolution. Educating multiple different mediators about this dispute
would be inefficient and likely further delay resolution.

        Resolution of motions to dismiss may facilitate settlement. Mr. Zell and Affiliated
Entities defer to the Court on when to decide motions to dismiss relative to mediation, but submit
that rulings on pending motions to dismiss may facilitate settlement. They are concerned that the
Litigation Trustee may be unwilling to engage in meaningful settlement discussions without
further determinations by the Court regarding the merits of the Trustee’s claims. Because the
Litigation Trustee will undoubtedly appeal any dismissals, any dismissed parties (including
Mr. Zell and Affiliated Entities) would continue to participate in a mediation subsequent to their
dismissal, as there will continue to be value in achieving a complete and final resolution of this
dispute.

         In sum, Mr. Zell and Affiliated Entities are supportive of a) a global mediation or any
other mediation process directed by the Court; b) the appointment of a magistrate or special
master with authority both to mediate all claims and also to recommend additional processes for
narrowing or resolving this litigation globally, if mediation is not completely successful at first;
c) the Court resolving motions to dismiss when it determines that doing so would be most likely
to facilitate global resolution, but in all events prior to authorizing any deposition discovery.

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           F. Independent Directors’ Position

       The Independent Directors are willing to participate in a mediation with the goal of
achieving a global resolution of this litigation. However, they agree with the Trustee and other
defendants that any mediation in this case would benefit from additional rulings by the Court on
the pending substantive motions.

           G. Financial Advisor Defendants’ Position

        While the Financial Advisor Defendants are prepared to participate in mediation with a
mediator to be agreed upon by the parties, assuming other parties are similarly inclined, we
believe that mediation would make more sense, and be more productive, after a decision on the
pending motions to dismiss is rendered. Regardless, the Financial Advisor Defendants believe
the Court should deny the Trustee’s request to authorize deposition discovery. Currently, this
Court’s order authorizing limited document discovery treats the Financial Advisor Defendants as
non-parties to the litigation. See Preliminary Discovery Plan at 3–5, Kirschner v. Fitzsimons,
1:11-md-02296-RJS, ECF Doc. No. 6952 (April 5, 2017, S.D.N.Y.). Unless and until the
pending motions to dismiss are denied, the Financial Advisor Defendants’ status remains the
same. The Trustee offers no new reason or urgency to change that status while the motions to
dismiss are still pending, relying again solely on the passage of time. Moreover, moving forward
with the depositions at the end of this year, as proposed by the Trustee, would impose on non-
parties the substantial burden of reviewing, in preparation for the depositions, the millions of
pages of documents that have been produced by the many defendants in this case. Further, the
depositions themselves would likely be very burdensome as numerous parties—who might
otherwise be dismissed from the case—would want to question each deponent, thus exposing
non-party deponents to the possibility of multiple rounds of depositions or depositions that may
exceed the seven-hour time limit under the Federal Rule of Civil Procedure 30(d)(1). In contrast,
deferring depositions until after the motions to dismiss are decided would be far more efficient
and economical. To the extent one or more of the Financial Advisor Defendants are dismissed,
their preparation for a non-party deposition may be significantly reduced as compared to
preparing for a deposition while their status in the case is in limbo. In addition, if multiple
parties are dismissed, it would likely narrow the number of parties participating in the
depositions, thereby avoiding issues surrounding multiple or protracted depositions.




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    II.        DISCOVERY UPDATE

          A.      Joint Statement by the Trustee and Non-Moving Defendants

       Discovery in these cases was stayed from 2012 through 2017. 18 On February 23, 2017,
this Court issued an order [ECF No. 6944], which requested that the parties propose a case
management plan that, among other things, distinguishes between Non-Moving Defendants and
Moving Defendants and treats the Moving Defendants as third parties. To that end, Non-Moving
Defendants and the Trustee agreed to the April 5, 2017 Preliminary Discovery Plan [ECF No.
6952], which provides for document discovery first and depositions later.

       Upon entry of the Preliminary Discovery Plan, the Trustee and Non-Moving Defendants
proceeded to consolidate and exchange Tribune Bankruptcy Data, and were, for the first time,
permitted to take merits discovery. To that end:

          x    The Trustee and Non-Moving Defendants issued documents requests to each other.

          x    The Trustee issued 28 third-party subpoenas to various Moving Defendants and non-
               parties. 19 These subpoenas covered a number of Tribune’s former counsel and
               advisors.

               o To simplify third-party discovery, the Non-Moving Defendants did not serve
                 separate subpoenas on entities subpoenaed by the Trustee. In return, the Trustee
                 agreed to share with Non-Moving Defendants all non-privileged documents
                 produced during the subpoena process, and to involve Non-Moving Defendants in
                 all meet-and-confer discussions with subpoena respondents. The Trustee believes
                 that certain of Tribune’s privileges were transferred to him during Tribune’s
                 bankruptcy, and has withheld documents based on that privilege.

               o Most subpoenas resulted in meet-and-confer discussions among the Trustee, the
                 respondent, and Non-Moving Defendants. In most cases, lengthy meet-and-
                 confer processes following service of responses and objections were necessary
                 before production commenced.

               o Moving Defendants did not participate in this process other than by responding to
                 subpoenas served upon them, and, in some cases, objecting to the production of

          18
            The Court permitted limited discovery for purposes of correcting defendant names and addresses for
service, and identifying individuals who were initial or subsequent transferees of LBO proceeds, where the transfer
amounts were unknown, or one or more transferees were dissolved or deceased. See Master Case Order 4 [ECF No.
2865], at IX.
          19
           Specifically, the Trustee served subpoenas upon the Chandler Trusts; the Cantigny Foundation; the
McCormick Foundation; Sam Zell; Sam Investment Trust; EGI; EGI TRB; Reorganized Tribune/tronc; Sidley
Austin LLP; Morris Nichols, Arsht & Tunnell LLP; Wachtell, Lipton, Rosen & Katz; Skadden, Arps, Slate,
Meagher & Flom LLP; Betsy Holden; Dudley Taft; Enrique Hernandez, Jr.; J. Christopher Reyes; Robert S.
Morrison; William A. Osborn; Miles White; Pricewaterhouse Coopers; Boston Consulting Group; Citibank; Duff &
Phelps; GreatBanc; Merrill Lynch; Morgan Stanley; VRC; and Ernst & Young.


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                documents by themselves or others based on a claim of attorney-client or common
                interest privilege.

             o Over half of the recipients of subpoenas produced documents. From those
               productions, the Trustee has re-produced to Non-Moving Defendants over 9,000
               documents, and intends to produce any and all documents previously withheld on
               the basis of Tribune’s privileges in the next few weeks.

        x    Trustee and Non-Moving Defendants have continually met and conferred about
             Trustee’s document requests to Non-Moving Defendants. The progress to date
             includes:

             o Executing a Fed. R. Evid. 502(d) stipulation on May 22, 2018, which governs the
               timing and process for the Non-Moving Defendants’ document production.

             o Agreeing to a process and search terms by which Certain Non-Moving
               Defendants 20 will produce documents. Certain Non-Moving Defendants
               anticipate commencing production within a month and finishing in approximately
               three months.

        B.      The Trustee’s Proposed Next Steps on Discovery

        Pursuant to the Preliminary Discovery Plan, the Trustee and the Non-Moving Defendants
each have a database of all documents that were produced during the course of the bankruptcy.
The Trustee is prepared to distribute these documents, along with the Post-Bankruptcy Discovery
(in both cases electronically) to all Parties, including the Moving Defendants and the Shareholder
Executive Committees. The Trustee expects that this can be accomplished within two weeks.
Productions still being completed can simply be made to all Parties simultaneously, and are
expected to be complete within the next three months.

        Tribune Privilege Waiver

        As noted in the Court’s order on the Trustee’s Motion to Compel, the Trustee was
assigned control over any privileges belonging to the “Debtors” and “which relate in full or in
part to Tribune Company’s 2007 leveraged buy-out transactions” (collectively, the “Tribune
Privilege”). See Agreement Respecting Transfer of Documents, Information, and Privileges from
Debtors and Reorganized Debtors, dated Dec. 31, 2012 (the “Transfer Agreement”) §§ I(A). The
Transfer Agreement also vests in the Trustee “sole authority and sole discretion to waive any
such privilege or immunity.” Id. In order to allow the unfettered use of all of the Post-
Bankruptcy Discovery for settlement purposes, in depositions, and at trial, the Trustee has
determined to waive the Tribune Privilege. For the avoidance of doubt, this waiver is limited to
the Tribune Privileges covered by the Transfer Agreement. The Trustee does not waive, and
expressly preserves, any and all other privileges, protections, and immunities otherwise afforded
to information in the possession, custody, or control of the Trustee, including but not limited to
        20
         Harry Amsden; Stephen Carver; Dennis FitzSimons; Robert Gremillion; Donald Grenesko; David Hiller;
Tim Landon; Richard Malone; John Reardon; Scott Smith; John Vitanovec; Kathleen Waltz; and David Williams.


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the Trustee’s communications with the Trustee’s counsel and advisors, their work product, and
all common-interest communications.

       Depositions

        Not surprisingly, even at this late date the defendants continue to be united in seeking
further delay of the Trustee’s ability to move ahead with this litigation. Yet, aside from three of
the Advisor Defendants, not a single one of the Moving Defendants or Non-Moving Defendants
has approached the trustee with any interest in settling in the past four years. Proceeding with
depositions notwithstanding the pendency of motions to dismiss is consistent with the Federal
Rules and the Preliminary Discovery Plan. See In re Currency Conversion Fee Antitrust Litig.,
2002 U.S. Dist. LEXIS 974, *4-5 (S.D.N.Y. Jan. 22, 2002) (“imposition of a stay is not
appropriate simply on the basis that a motion to dismiss has been filed, as the Federal Rules
make no such provisions”); Preliminary Discovery Plan at ¶ 11. It is certainly warranted here,
where depositions of the Non-Moving Defendants (and some moving defendants) are inevitable
regardless of the outcome of the pending motions. See, e.g., Hollins v. United States Tennis
Ass’n., 469 F. Supp. 2d 67, 79 (E.D.N.Y. 2006) (compelling depositions where discovery would
proceed regardless of the outcome of motions to dismiss); Salgado v. City of New York, 2001
U.S. Dist. LEXIS 799, *2 (S.D.N.Y. Jan. 31, 2001) (denying defendants’ request for a stay of
discovery; “even if the defendants’ motion were granted, this action would not terminate and the
same discovery would be necessary.”).

        Moreover, given the pace at which the Individual Creditor Action appeal has progressed,
deferring depositions until after the resolution of the Trustee’s pending request to amend to add a
constructive fraud claim and/or appeal the dismissal of the Trustee’s actual fraud claims (as the
Shareholder Executive Committees suggest), would likely defer depositions for several
additional years, at great prejudice to the Trustee. See Republic of Colombia v. Diageo N. Am.
Inc., 619 F. Supp. 2d 7, 13 (E.D.N.Y. 2007) (stay of discovery pending interlocutory appeal
denied where discovery already stayed for three years at request of defendants). The Trustee is
entitled to depose these key witnesses while they retain some semblance of memory of the events
in question, and before any additional witnesses pass away.

        The Trustee vigorously disputes the Shareholder Executive Committees’ suggestion that
proceeding with these depositions, which the Trustee believes are not necessary for mediation
with the Shareholder Defendants, would prejudice them in any way. Liaison Counsel for the
Shareholder Defendants have ably defended the interests of the Shareholder Defendants without
any administrative difficulty, and there is no reason why counsel could not continue to do so by
attending these twelve depositions. Indeed these depositions do not entail any facts pertinent to
any alleged individualized shareholder defenses. The cost of Liaison Counsel participating
would be minute when compared to the billions of dollars of transfers retained by their clients
and other Shareholder Defendants. Moreover, this is not a case where dismissed defendants are
at odds with those who remain in the case—many of the Non-Moving Defendants are themselves
Shareholder Defendants, having received in the aggregate millions of dollars in LBO-related
proceeds. For example, former director and CEO Dennis FitzSimons, one of the Non-Moving
Defendants, received over $21 million in LBO proceeds. At any rate, some or all of these
depositions would likely take place after a mediation with the Shareholder Defendants, at which
point many of them may no longer be parties to these proceedings.

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        The objection of the Zell Defendants and Independent Directors to the cost of preparing
for or attending depositions also rings hollow, as their defense costs are being borne by Tribune’s
insurers. See V.S. v. Muhammad, No. 07-CV-1281(DLI)(JO), 2009 WL 936711, at *2 (E.D.N.Y.
Apr. 3, 2009) (no irreparable harm to individual defendants justifying stay pending appeal where
appellants indemnified by employer). The Trustee also disagrees that the Financial Advisors and
other Moving Defendants will be required to review “millions” of documents in preparation for
these depositions. The Trustee has, at great expense, subpoenaed and processed hundreds of
thousands of documents’ worth of new and improved metadata, permitting most Bankruptcy
Discovery and virtually all Post-Bankruptcy Discovery to be sorted so as to focus on the
documents relating to the deponents.

         The Preliminary Discovery Order so-ordered by the Court contemplates that depositions
will begin following the completion of the document discovery described therein. 21 See
Preliminary Discovery Plan ¶ 11 (“Trustee and the Non-Moving Defendants presently
contemplate waiting until the document production contemplated by this Preliminary Discovery
Plan is substantially complete to conduct most depositions.”). Now that this time has come, the
Trustee should be permitted at the very least to depose a limited slate of important witnesses.
Plaintiff anticipates that these depositions could be conducted beginning in November, giving all
Parties at least four to five months to review the vast majority of Post-Bankruptcy Discovery, and
at least two months to review any new material produced by the Non-Moving Defendants.
During this time, Plaintiff intends to continue negotiating with the Shareholder Executive
Committees, and if agreement is reached on mediation terms, commence mediation with the
Shareholder Defendants.



        C.       Non-Moving Defendants’ Position on Next Steps

        Non-Moving Defendants disagree with the Trustee’s suggestion to commence deposition
practice in November. To provide some background, the Trustee and Non-Moving Defendants
negotiated a stipulation over the course of several months that anticipated the following process:
(1) document production by the Non-Moving Defendants; then (2) 60 days later, a decision by
the Trustee on whether to waive privilege; followed by (3) either a production by the Trustee or a
motion to compel by Non-Moving Defendants.

       The Trustee’s decision to waive privilege now, before Non-Moving Defendants have
produced, means Non-Moving Defendants must finish reviewing and producing their own
documents while simultaneously analyzing 26,298 previously withheld documents that the
Trustee claims are material to the case. For that reason and others explained below, Non-Moving
Defendants propose the following steps:


        21
           The Non-Moving Defendants assert that depositions should not proceed this year because the Moving
Defendants have not yet conducted written discovery. The Trustee notes that neither the Non-Moving Defendants
nor the Moving Defendants have identified any topics or parties not covered to date by prior discovery.
Nevertheless, the Trustee has no objection to the Moving Defendants taking written discovery, and believes they
should do so promptly.


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Step 1:          All defendants must review all previously withheld documents, some of
                 which the Trustee has possessed since 2013.

A.        Due to the Trustee’s decision to waive privilege, all defendants need time to
          analyze at least 26,298 documents the Trustee claims are material to the case.

          x   7,603 documents from Tribune’s bankruptcy. A central issue throughout the
              discovery process has been the volume and importance of documents withheld
              by the Trustee as privileged. During Tribune’s bankruptcy, Sidley Austin LLP
              (“Sidley”) produced a privilege log on behalf of the debtors that spans over
              1,100 pages and lists well over 11,000 documents. The Trustee represents that
              he received 8,422 such documents in September 2013. The Trustee produced
              819 of these documents it believes are non-privileged a few weeks ago.

          x   18,695 documents from third-party subpoenas. The Trustee received
              productions from Sidley’s own records, as well as various advisors, including
              Wachtell Lipton Rosen & Katz; Skadden, Arps, Slate, Meagher & Flom;
              Morris, Nichols, Arsht & Tunnell; the Special Committee; Boston Consulting
              Group; Ernst & Young; PricewaterhouseCoopers; and Reorganized Tribune.
              The Trustee represents that these productions include 18,695 documents that
              the Trustee is now withholding as privileged.

B.        The Trustee represents that the productions he received from subpoena
          respondents over the last year “have given [him] access to tens of thousands of
          never-before-produced documents, many of which were previously withheld from
          production as privileged, such as communications with the Tribune Special
          Committee” that “will be instrumental in the next phase of the litigation and in
          driving future settlement negotiations.”

C.        The Trustee has also represented that he has unresolved disputes with Tribune
          over documents that are listed on Tribune’s bankruptcy privilege log, but have not
          yet been produced to the Trustee.

D.        To summarize, the Trustee had substantial time to review thousands of privileged
          documents, but now proposes that all defendants do the same work in just a few
          months while simultaneously participating in document discovery and preparing
          for depositions by November. The Trustee’s position is unreasonable, not only as
          a matter of timing, but also because:

          x   Those tens of thousands of putatively privileged documents may contain
              significant information that requires careful consideration.

          x   The Trustee requested a process for Non-Moving Defendants’ review of
              documents that would protect the Trustee’s privilege. The parties carefully
              negotiated a stipulated process and reached final agreement in May 2018.
              Under the stipulated process, the Trustee’s decision to waive privilege is due
              three months after all Non-Moving Defendants are finished producing—in

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              other words, months from now.

          x   All Defendants agree that depositions should not be scheduled until after the
              Trustee produces, and the parties have had a reasonable chance to review, the
              Trustee’s production of putatively privileged documents.

          x   As noted in Step 3, below, Moving Defendants have not participated in
              discovery except to produce documents in response to subpoenas.

Step 2:          Non-Moving Defendants must review and produce documents in response
                 to the Trustee’s requests for production.

A.        As mentioned in the joint statement, Certain Non-Moving Defendants and the
          Trustee engaged in good faith negotiations regarding the production of Certain
          Non-Moving Defendants’ documents. The agreed-upon process anticipates
          production within three months and contemplates the following:

          x   Certain Non-Moving Defendants will complete the predictive coding process
              that is being applied to their substantial document repository. The predictive
              coding software currently estimates that approximately 55,000 documents are
              responsive.

          x   Certain Non-Moving Defendants will manually review all documents that the
              predictive coding software is unable to analyze. That number currently stands
              at approximately 22,000 documents, though Certain Non-Moving Defendants
              anticipate the final number will be lower. Certain Non-Moving Defendants
              will then produce all responsive documents and create a privilege log.

Step 3:          Moving Defendants should be permitted to engage in written discovery
                 before any deposition practice commences.

A.        Under the Preliminary Discovery Plan, Moving Defendants have been treated as
          third parties with respect to document discovery given the pending motions to
          dismiss.

B.        Accordingly, Moving Defendants have participated in discovery only as subpoena
          respondents, and have not yet (1) issued requests for production; (2) received
          responses and objections; (3) met and conferred; and (4) received and analyzed
          any document productions; or (5) received and analyzed the documents that other
          third party subpoena respondents have produced to the Trustee.

C.        Moving Defendants also need to review and analyze the 26,298 withheld
          documents discussed above in Step 1.

                                       *        *     *

Based on the foregoing, Non-Moving Defendants propose the following schedule:


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        1. As soon as practicable, the Trustee will produce all documents subject to his waiver
           and file an appropriate notice of compliance with the Court.

        2. 90 days thereafter, the Parties will provide the Court a joint discovery status update
           and suggestions for next steps.

        D.       Moving Defendants’ Position on Next Steps

                           i.      Shareholder Executive Committees and Large Shareholders

         Plaintiffs seek to proceed with depositions of a number of witnesses while all existing
claims against the shareholders have been dismissed, but remain subject to appellate proceedings
and plaintiffs’ pending request to add new federal constructive fraudulent transfer claims.
Commencing depositions now would place the dismissed shareholder defendants in an untenable
position. Shareholder defendants would need to either incur the expense of participating in
depositions while no claims against them are pending, or risk that their failure to participate in
such depositions would impair their rights in the event that claims against them are revived in the
future. 22 The plaintiffs should not be permitted to place the thousands of shareholder defendants
in such a position. 23 Commencing depositions at this juncture would also be highly inefficient
by unnecessarily imposing substantial burdens on—and sowing confusion among—the
thousands of Tribune shareholder defendants, all of whom are currently dismissed and many of
whom are appearing pro se.

        While it may be proper to continue to stay any depositions of witnesses that may impact
the claims against the shareholders until it is determined whether any claims against the
shareholders are revived or added to these cases, the Shareholder Executive Committees submit
that addressing the timing of depositions should be deferred at least until the conclusion of a
mediation process. At that point, shareholders that remain in the cases can further address the
timing of depositions based on the then-status of these cases, including the status of the current
proceedings in the Second Circuit.

                           ii.     Sam Zell and Affiliated Entities

        Mr. Zell and Affiliated Entities provided substantial discovery in the bankruptcy
proceedings and reached a resolution with the Litigation Trustee in connection with the
Litigation Trustee’s discovery subpoenas to them in this litigation.

        Mr. Zell and Affiliated Entities object to both the Litigation Trustee conducting
depositions and to requiring Moving Defendants to review additional documents or engage in
written discovery as would be necessary as a prelude to depositions before pending motions to
dismiss are resolved. Mr. Zell and Affiliated Entities are hopeful that they (and others) will no
longer be defendants once those motions are decided. Particularly, given the number of persons

        22
            While the Trustee has asserted additional state-law claims against the Large Shareholders in FitzSimons,
those claims, as noted, are subject to pending motions to dismiss.
         23
            Merits discovery in the multi-district litigation has, with limited exceptions, been and remains stayed
pursuant to Master Case Order No. 4. See ECF No. 2865, § IX.


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and entities who are currently defendants in this litigation, depositions of key individuals,
including a number of individuals identified by the Litigation Trustee, may be needlessly
protracted and complicated by the participation of counsel for defendants who may not be parties
once the Court addresses the motions to dismiss. Mr. Zell also seeks to avoid the needless
dissipation of ever-declining D&O insurance proceeds on litigation expenses that may be
avoided if motions to dismiss are resolved before deposition discovery commences.

                      iii.   Independent Directors

       Pursuant to the Preliminary Discovery Plan entered by the Court on April 5, 2017, and
the Court’s Order of February 15, 2018, granting the Trustee’s Motion to Compel, the
Independent Directors and their counsel, Skadden, Arps, Slate, Meagher & Flom LLP, have
completed their responses to the third party document subpoenas served on them by the Trustee.

        The Independent Directors object to the Litigation Trustee conducting any depositions,
particularly the deposition of Mr. Osborn or any other Independent Director, before the Court
rules on the pending motions. Consistent with the Preliminary Discovery Plan, the Independent
Directors have not served any affirmative discovery requests. Nor have they received any of the
“tens of thousands of never-before-produced documents” produced by the other subpoenaed
parties, which are currently in the possession of the Trustee. Accordingly, the Independent
Directors agree with the Shareholder Executive Committees, Non-Moving Defendants, Zell
Defendants, and Financial Advisor Defendants that any depositions would be premature, unduly
burdensome, and inefficient in light of the current status of this litigation.




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                                                    Respectfully,

AKIN GUMP STRAUSS HAUER &                           FRIEDMAN KAPLAN SEILER &
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                                                    On Behalf of Shareholder Executive
                                                    Committees


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